6:20-cv-00423-JFH Document 125-5 Filed in ED/OK on 09/09/21 Page 1 of 4




       EXHIBIT 5 –
Maldonado Inspection Report
     for July 25, 2017
              6:20-cv-00423-JFH Document 125-5 Filed in ED/OK on 09/09/21 Page 2 of 4
                                                                                                                   BBOONE
                                          United States Department of Agriculture
                                         Animal and Plant Health Inspection Service                2016082569000516 Insp_id

                                                   Inspection Report


 Joseph Maldonado Passage                                         Customer ID:     9658

 142 Hayward St                                                     Certificate:   73-C-0139
 Braintree, MA 02184                                                       Site:   001
                                                                           JOSEPH MALDONADO PASSAGE



                                                                          Type:    ROUTINE INSPECTION
                                                                          Date:    25-JUL-2017

 2.75(b)(1)
 RECORDS: DEALERS AND EXHIBITORS.
 The inventory of animals on hand was incomplete and must contain the license number of the entity from which the
 animal was acquired. If the entity is not licensed or registered under the Animal Welfare Act then a complete
 address and identification is required from the person whom it was purchased or otherwise acquired. Although
 APHIS form 7019 is not mandatory to use, alternate inventory forms must contain all information required in 2.75 (b)
 (1) and (i-vii).


 Several records examined during inspection were lacking complete information required in 2.75 (b) (1) ii-iv.
 Although APHIS forms 7020 are not mandatory to use, alternate forms must contain all information required in 2.75
 (b) (1) (i-vii). The vehicle license number and state, and the driver's license if he/she is not registered under the
 Animal Welfare Act must be recorded. The full name and address of the buyer/receiver must be recorded in
 addition to the city and state.


 Acquisition and disposition records are necessary to be able to accurately track animals being used in regulated
 activities to ensure their legal acquisition, proper care, and humane transportation.


 The exhibitor shall make, keep, and maintain records or forms which fully and correctly disclose information
 concerning animals purchased or otherwise acquired, owned, held, leased, or otherwise in his possession or under
 his control, or which is transported, sold, euthanized, or otherwise disposed of by that dealer or exhibitor. The
 records shall include any offspring born of any animal while in his possession or under his control. All information
 found within section 2.75(b)(1) should be recorded, maintained, and made available for inspection.


 Correct from this day forward.




 2.131(c)(1)



       Prepared By: BOONE BONNIE, D V M               USDA, APHIS, Animal Care                        Date:
                                                                                                      19-DEC-2017
                    Title: VETERINARY MEDICAL OFFICER 6119



  Received by Title: REPORT SENT VIA EMAIL                                                            Date:
                                                                                                      20-DEC-2017
Page 1 of 2
              6:20-cv-00423-JFH Document 125-5 Filed in ED/OK on 09/09/21 Page 3 of 4
                                                                                                                BBOONE
                                           United States Department of Agriculture
                                          Animal and Plant Health Inspection Service             2016082569000516 Insp_id

                                                      Inspection Report



 HANDLING OF ANIMALS.
 On or near 19 July 2017 the licensee and a reporter entered an enclosure containing three juvenile tigers. The
 tigers were approximately 8-10 months old at this time. The facility made no attempt to exert any direct control over
 the tigers, which had free contact with the reporter. Reporters are considered to be members of the public. Tigers
 of this age and size are too large and strong to be allowed direct contact with members of the public. The facility
 cannot allow members of the public to have physical interaction with big cats once they surpass a safe age or size.


 Public (including reporters) should not be allowed inside an enclosure with tigers or other big cats that have "aged
 out" of public photo sessions. Appropriate barriers must be present at all times to separate and assure the safety of
 both the animals and the public.


 Correct from this day forward.




 3.125(a)                REPEAT
 FACILITIES, GENERAL.
 In the nursery several electrical outlets and switches did not have protective covers in place. The exposed electrical
 wires are a potential source of injury to the baby kangaroo and other baby animals housed in this room that are
 allowed to roam free. Facilities should be structurally sound and maintained in good repair to protect the animals
 from injury. Replace missing electrical cover plates.


 Inspection and exit interview were conducted with facility representatives.




 Additional Inspectors
 Cunningham Debbie, Veterinary Medical Officer
 Tygart Michael, Supervisory Animal Care Specialist




      Prepared By: BOONE BONNIE, D V M                  USDA, APHIS, Animal Care                    Date:
                                                                                                    19-DEC-2017
                Title: VETERINARY MEDICAL OFFICER 6119



  Received by Title: REPORT SENT VIA EMAIL                                                          Date:
                                                                                                    20-DEC-2017
Page 2 of 2
         6:20-cv-00423-JFH Document 125-5 Filed in ED/OK on 09/09/21 Page 4 of 4
                                           United States Department of Agriculture     Customer:        9658
                                          Animal and Plant Health Inspection Service   Inspection Date: 25-JUL-17
                                                 Species Inspected


Cust No       Cert No              Site       Site Name                                         Inspection
9658           73-C-0139           001        JOSEPH MALDONADO PASSAGE                          25-JUL-17




Count      Scientific Name                                   Common Name
000001     Atherurus africanus                               AFRICAN BRUSH-TAILED PORCUPINE
000011     Canis lupus                                       GRAY WOLF / GREY WOLF / TIMBER WOLF
000001     Equus quagga                                      BURCHELL’S / GRANT’S / CHAPMAN’S / PLAINS ZEBRA
000002     Lemur catta                                       RING-TAILED LEMUR
000010     Lynx rufus                                        BOBCAT
000001     Macaca fuscata                                    JAPANESE MACAQUE / SNOW MACAQUE
000001     Macaca nemestrina                                 PIG-TAILED MACAQUE
000010     Mephitis mephitis                                 STRIPED SKUNK
000001     Mustela putorius furo                             DOMESTIC FERRET
000002     Nasua nasua                                       SOUTH AMERICAN COATI
000004     Odocoileus virginianus                            WHITE-TAILED DEER
000001     Osphranter rufus                                  RED KANGAROO
000002     Panthera leo                                      LION
000001     Panthera leo x p. tigris                          LION X TIGER HYBRID / LIGER / TIGON
000001     Panthera pardus                                   LEOPARD
000065     Panthera tigris                                   TIGER
000003     Papio anubis                                      OLIVE BABOON
000001     Potos flavus                                      KINKAJOU
000013     Procyon lotor                                     RACCOON
000001     Puma concolor                                     PUMA / MOUNTAIN LION / COUGAR
000001     Sapajus appella                                   BROWN CAPUCHIN / TUFTED CAPUCHIN
000004     Ursus americanus                                  NORTH AMERICAN BLACK BEAR
000002     Vulpes lagopus                                    ARCTIC FOX
000139     Total




                                                    Page 1 of 1
